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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

   IMMUNEX CORPORATION;                                )
   AMGEN MANUFACTURING, LIMITED;                       )
   and HOFF MANN-LA ROCHE INC.;                        )    Civil Action No.: 2:16-cv-O1 11 8-CCC-MF
                                                       )
                              Plaintiffs,              )
            v.                                         )
                                                       )
   SANDOZ INC.; SANDOZ                                 )    Electronically filed
   INTERNATIONAL GMBH; and SANDOZ                      )
   GMBH;                                               )
                                                       )
                              Defendants.              )
                          STIPULATED CORRECTIONS TO TRANSCRIPTS

            THIS   MATTER            was    brought   by   Plaintiffs,   Immunex   Corporation,   Amgen

   Manufacturing, Limited (collectively, “Immunex”) and Hoffmann-La Roche Inc. (“Roche”),

   against Defendants, Sandoz Inc., Sandoz International GmbH, and Sandoz GmbH (collectively,

   “Defendants”). After a bench triaL, the parties were supplied with transcripts of the trial in which

   certain errata were identified, those errata have, however, not previously been corrected.

            IMMUNEX AND DEFENDANTS NOW HEREBY STIPULATE to the corrections to

   the transcripts attached to this Stipulation as Exhibits 1-7, and Roche does not object.



   SO ORDERED:




   Dated:             i   3
                                                                                    C
                                                                Hon. Claire C. Cecchi, U.S.D.J.
